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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION




In re:                                                      Chapter 11
                                                            (Consolidated)
MKUL, INC. (f/k/a MOLEKULE GROUP, INC.),
         Debtors.                                           Case No. 23-18094-EPK
                                                            Case No. 23-18093-EPK
___________________________________________/
MOLEKULE GROUP, INC.,
         Plaintiff,
v.                                                          Adv. Proc. No. 24-01004-EPK
AURA SMART AIR, LTD.,
         Defendant.
___________________________________________/
                                NOTICE OF APPEARANCE

          PLEASE TAKE NOTICE that Veronica M. Rabinowitz, Esq. of Sanchez Fischer Levine,

 LLP hereby enters an appearance as counsel on behalf of Defendant, Aura Smart Air, Ltd., and

 requests that copies of all future pleadings and papers be served upon the undersigned.



Dated: April 1, 2024                                Respectfully submitted,

                                                    SANCHEZ FISCHER LEVINE, LLP
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                                                    Miami, Florida 33131
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                                                    By: /s/ Veronica M. Rabinowitz
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                                                    Counsel for Aura Smart Air, Ltd.
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 1, 2024, I electronically filed the forgoing document

with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served

this day on all counsel of record via electronic transmission of Notices of Electronic Filing

generated by CM/ECF.

                                                   By: _/s/ Veronica M. Rabinowitz
                                                   Veronica M. Rabinowitz, Esq.
